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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

COMMON CAUSE FLORIDA, et al.,
      Plaintiffs,
v.                                                 Case No. 4:22-cv-109-AW-MAF
LAUREL M. LEE, et al.,
     Defendants.
_______________________________/
      ORDER REGARDING REQUEST FOR THREE-JUDGE COURT

      This case was misdocketed in the Panama City Division, transferred to the

Tallahassee Division, and reassigned to me. ECF No. 3. The transfer order also

included notice to the Chief Judge of the Eleventh Circuit of the request for a three-

judge court.

      Because 28 U.S.C. § 2284(b)(1) provides that “the judge to whom the request

is presented shall . . .immediately notify the chief judge of the circuit, who shall

designate two other judges . . .,” and because I am now the judge to whom the

request is presented, in an abundance of caution, I hereby notify the Chief Judge of

the Eleventh Circuit of the request for a three-judge court.



      SO ORDERED on March 14, 2022.

                                       s/ Allen Winsor
                                       United States District Judge
